                                                                        November 21, 2022
BY ECF

The Honorable Lorna G. Schofield               The Honorable Sarah L. Cave
United States District Judge                   United States Magistrate Judge
Southern District of New York                  Southern District of New York
40 Foley Square                                Daniel Patrick Moynihan United States Courthouse
New York, New York 10007                       500 Pearl Street
                                               New York, New York 10007

                       Re:     Catherine McKoy, et al. v. Trump Corp., et al., No. 1:18-cv-9936
                               (LGS - SLC) – Request for Conference

Dear Judge Schofield and Judge Cave:

        In light of the recent announcement by Defendant Donald J. Trump that he intends to run
for President in the 2024 election, we write to respectfully request that the Court set (1) a trial date
in October 2023, before primary contests and other campaign-related events begin in earnest, and
(2) a briefing schedule for any summary judgment motions that aligns with the existing briefing
schedule for class certification and enables an October 2023 trial date. Plaintiffs have no desire to
interfere with the upcoming campaign, and are mindful that, should the schedule in this case extend
into 2024, Defendants likely will, as they have in the past, use the campaign as a basis to seek
further delay. Setting a trial date now will provide certainty and avoid any such delay later. In
addition, aligning summary judgment briefing with class certification briefing makes sense, given
that discovery will be complete and there is no reason to wait.

         Plaintiffs’ counsel (Mr. Quinn) conferred with Defendants’ counsel (Mr. Farina) on
November 14, 2022, when it was clear that Mr. Trump’s announcement was imminent, and we
followed up by email on November 16, after the announcement had been made. Mr. Farina
responded by email that evening, stating that Defendants oppose these requests, on the ground that
it is “preposterous” to suggest that Mr. Trump would seek any delay based on campaign activities,
and that, as a result, there is “simply no reason” to align the briefing schedules—or, implicitly, to
set an October 2023 trial date. For the reasons set forth below, we disagree.

   I.      An October 2023 Trial Date Is Appropriate to Avoid Disruption and Undue Delay

       As an initial matter, Mr. Trump is a lead Defendant and his participation at trial and
availability for cross examination are obviously critical. Indeed, fact discovery made clear that
                                                                                               Witness after witness
pointed to

                . 1 Mr. Trump’s central role with respect to the underlying facts, coupled with his
recent announcement, warrants an October 2023 trial date, for two related reasons.

         First, primary contests and other significant campaign-related events are likely to begin in
January or February 2024, 2 and so an October 2023 trial date would avoid undue intrusion on
campaign-related activities and facilitate resolution of this case on the merits while minimizing the
influence of politics. See Dietz v. Bouldin, 579 U.S. 40, 47 (2016) (“This Court has also held that
district courts have the inherent authority to manage their dockets and courtrooms with a view
toward the efficient and expedient resolution of cases.” (citations omitted)).

         Second, should the case schedule stretch into 2024, it is all but certain that Mr. Trump will
begin to argue that his campaign obligations must take precedence over his participation in this
case, including at trial. For example, in Low v. Trump University, LLC, No. 10 Civ. 940 (S.D.
Cal.)—a consumer fraud class action against Mr. Trump—Mr. Trump requested in May 2016 that
trial be delayed until after the 2016 election. His lawyer in that case argued that a pre-election trial
date would “cause an unwarranted intrusion on the election process” and also would be unfair to
Mr. Trump, who “must devote all of his full-time efforts and energies to running his campaign and
running for office.” Conf. Tr., Low, No. 10 Civ. 940, at 10, ECF 481. Indeed, his lawyer asserted
that “it would be a virtually impossible burden” on Mr. Trump to “have to defend himself at trial”
before the election. Id. Ultimately, the Court in that case set a post-election trial date. Id. at 19.

         The same writing is on the wall for this case. For one thing, Plaintiffs already lost more
than fourteen months to a stay imposed by the Circuit in connection with Defendants’ ill-fated
effort to compel this case into arbitration, ECF 280, 314—a gambit that this Court recognized was
“prejudicial” to Plaintiffs and inconsistent with “the economical resolution of claims.” ECF 229 at
15. Moreover, just a few weeks ago, Mr. Trump publicly complained that plaintiffs in three cases
against him “refused to move” the case schedules out past the midterm elections—elections where
Mr. Trump was not even on the ballot. 3

        The parties have jointly estimated that the trial will last two to four weeks. See, e.g., ECF
357 at 3. An October trial date will permit the parties to complete the trial well before the end of
2023. Such a date also will allow sufficient time for briefing and resolution of Plaintiff’s motion
for class certification, and any motions for summary judgment, as set forth below. 4

1
    Plaintiffs are prepared to submit deposition transcripts and other record evidence on any of these points as directed.
2
  For reference, during the 2020 election, the first GOP primary was held on February 11, 2020. Primaries &
Causes: New Hampshire, CNN (Feb. 19, 2020, 7:44 PM), https://www.cnn.com/election/2020/primaries-
caucuses/state/new-hampshire/overview. It does not appear that the GOP has set its Presidential primary and caucus
schedule for 2024.
3
     Donald      J. Trump (@realDonaldTrump), Truth                Social (Oct.      28,    2022, 10:31       AM),
https://truthsocial.com/users/realDonaldTrump/statuses/109246383326528876.
4
 We note that this Court regularly decides summary judgment and class certification motions in less than six months.
See, e.g., Price v. L’Oreal USA, Inc., No. 17 Civ. 614 (S.D.N.Y. 2017) (class certification); McCutcheon v. Colgate-
    II.      Alignment of Class Certification and Summary Judgment Briefing is Appropriate

        In order to enable an October 2023 trial date, Plaintiffs also request that the Court set a
briefing schedule now for any summary judgment motions, and align that schedule with the
existing briefing schedule for Plaintiffs’ motion for class certification. 5 Under that schedule,
opening briefs are due March 3, 2023, ECF 456 ¶ 3, and so, Plaintiffs further request that the Court
set the deadline for any pre-motion letter concerning summary judgment for February 13, which
would allow, on the front end, a month following service of rebuttal reports (on January 16) for
the completion of expert depositions, and, on the back end, approximately three weeks from the
filing of any pre-motion letters to the filing of any opening briefs (on March 3). Our proposed
schedule is outlined in the chart below.

        This Court, of course, has broad discretion with respect to case management and
scheduling. See City of Almaty, Kazakhstan v. Ablyazov, No. 115 Civ. 05345, 2019 WL 11662228,
at *1 (S.D.N.Y. Oct. 24, 2019). And contemporaneous briefing of motions for class certification
and summary judgment is fairly common. See, e.g., Order, Ford v. WSP USA, Inc., No. 19 Civ.
11705, ECF 71 (Feb. 3, 2021) (Schofield, J.). In fact, commentators have observed that the
“emerging trend in the courts appears to be to decide dispositive motions prior to the certification
motion,” 3 Newberg and Rubenstein on Class Actions § 7:8 (6th ed.) (emphasis added), in part
because the class certification analysis “entail[s] some overlap with the merits of the plaintiff’s
underlying claim,” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). See also Schweizer
v. Trans Union Corp., 136 F.3d 233, 239 (2d Cir. 1998) (sequence of summary judgment and class
certification “well within the discretion of the district court”).

         In all events, the most efficient and timely course here is simultaneous briefing, particularly
given that all discovery will have closed by the time either motion is due. ECF 456 ¶ 3; see Caronia
v. Philip Morris USA, Inc., No. 06 Civ. 0224, 2006 WL 197147, at *1 (E.D.N.Y. Jan. 24, 2006)
(ordering “simultaneous[]” hearing of summary judgment and class certification given availability
of full discovery record). Indeed, with discovery complete, there is no reason to wait; and with the
campaign looming, there is every reason to proceed.

          In light of the above, the schedule we would propose is as follows:

 Pre-motion letter(s) re summary judgment                                          Feb. 13, 2023
 Response to pre-motion letter(s) re summary judgment                              Feb. 20, 2023
 Opening briefs for summary judgment and class certification                       Mar. 3, 2023
 Oppositions                                                                       Apr. 18, 2023
 Replies                                                                           May 15, 2023
 Trial                                                                             October 2023

Palmolive Co., No. 16 Civ. 4170 (S.D.N.Y. 2016) (same); Mader v. Experian Information Solutions, LLC, No. 19
Civ. 3787 (S.D.N.Y. 2019) (summary judgment).
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  We note that prior case management orders in this case contemplated the submission of letters from the parties
around this time addressing the briefing schedule for any summary judgment motions. See ECF 357.
Respectfully submitted,



Roberta A. Kaplan
